 Case 2:14-cv-06456-GW-E Document 1097 Filed 05/26/22 Page 1 of 1 Page ID #:34256


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 14-6456-GW(Ex)                                              Date     May 26, 2022
 Title             BASF Corporation, et al. v. APC Investment Co., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Terri A. Hourigan
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:

                     Ronald A. Valenzuela                                     William D. Wick
                       Nancy S. Cohen                                          Farheen Habib
                       William F. Ford                                        Earl L. Hagstrom
                                                                            Daniel E. Trowbridge
                                                                             BY TELEPHONE:
                                                                            Robert B. Martin, III
                                                                                Victor Otten
                                                                              Zachary Walton
                                                                              Megan Meadows
                                                                               Sedina Banks
 PROCEEDINGS:                 HEARING ON PATSOURAS / PMC'S MOTION FOR SUMMARY
                              JUDGMENT


Court hears oral argument. For reasons stated on the record, the matters are taken under submission.




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                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                    Page 1 of 1
